EXHIBIT 2
	
                   Services	for	Creating	Simple,	Short	
                   Affidavits			                                                      	               Block	
                   	                                              SingleTask	   Hourly	      Single	 Billing	       Block	
      Date	 Staff	 Non-Core	Tasks	(in red)	                            Hours	     Rate		    Task	$	 Hours	       Billing	$	       Notes	
    3/3/17	 DME	 Email	s	with	MES	regarding	affidavit	to	                0.1	    	$225		   	$22.50		        		         	$-				 		
                   support	motion	for	summary	judgment	
                   concerning	attorneys'	fees	
    3/6/17	 DME	 Leave voicemail for accounting...Work	on	                 		    	$225		        	$-				   2.5	     	$563		 Includes	
                 affidavit	in	support	of	motion…for	attorneys'	                                                            billings	
                 fees	and	record	references.	                                                                              work	
 3/7/17	 DME	 Call	with	Sankey	regarding	fees.	Review	his	               2.7	    	$225		 	$607.50		         		         	$-				 		
              email.	Work	on	Affidavit	in	Support	of	
              Motion	
3/15/17	 DME	 Call	Joyce	and	leave	message;	Telephone	                     		    	$225		        	$-				   7.4	   	$1,665		 		
              conference	with	Joyce	concerning	affidavit	
              for	prevailing	rates;	Email	paralegal	
              concerning	joint	motion	to	extend	time..;	
              Emails	with	Spector	concerning	
              supplemental	record…;	Email	reminder	to	
              Sankey	concerning	his	affidavit...;	Search	
              DMS	for	examples	of	Ws	vitriole	
3/15/17	 MES	 Consultation	with	Ehrens	regarding	affidavit	              0.2	    	$240		   	$48.00		        		         	$-				 		
              concerning	prevailing	rates	
3/17/17	 DME	 Draft	Sowyrda	affidavit	in	support	of…fees;	                 		    	$225		        	$-				   4.3	     	$968		 		
              Emails	with	MES	concerning	affidavit…and
              contact information for Joyce; Review e-
              notice from court granting motion for
              extension of time to file motion for summary
              judgment; Telephone	conferences	and	
              emails	with	MES	concerning	her	
              affidavit...for	attorneys;	fees;	
              Revise/supplement	draft	motion	for	fees	
              with	list	of	affidavits...;	Review/revise	
              Sankey	affidavit;	Review	Sankey's	draft	
              affidavit	in	support	of...fees	and	email	him	
              concerning	including	applicable	fees	rates;	
              Review e-notice from court granting
              extension	of	time	for	filing	motion	
3/17/17	 MES	 Consultation	with	Ehrens	regarding	affidavit	              0.2	    	$240		   	$48.00		        		         	$-				 		
              for	fees	
3/20/17	     MES	 Review	and	revise	affidavit	regarding	                 0.3	    	$240		   	$72.00		        		         	$-				 		
                  attorneys'	fees	and	prevailing	rate	
3/20/17	     MES	 Consultation	with	Ehrens	regarding	affidavit	          0.4	    	$240		   	$96.00		        		         	$-				 		
                  for	hourly	rate	
3/20/17	 DME	 Investigate	parents	2013	representation;	                    		    	$225		        	$-				     2	     	$450		 Includes	
              Telephone	and	emails	with	MES	concerning	                                                                    billings	
              her	involvement	with	case	in	October	                                                                        work	
              2013…;	Conference with paralegal
              concerning redacting bills;	Receive	and	
              review	signed	Sankey	affidavit	




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4/21/17	 DME	 Email	communications	with	Spector	and	          		               	$225		        	$-				   1.2	     	$270		 Includes	
              Morrissey	concerning	documents	for	record	                                                                 billings	
              supplementation;	Work	on	affidavit	in	                                                                     work	
              support	of	motion	for	fees;	Email paralegal
              concerning schedule and work needed on
              billing exhibits	
4/28/17	 DME	 Telephone conference with Spector               		               	$225		        	$-				   0.5	     	$113		 		
              concerning motion schedule; Calendar
              dispositive motion deadlines;	Prepare	form	
              of	affidavit	for	Joyce;	Email	Joyce	concerning	
              schedule…	
 5/2/17	 DME	 Review	Joyce	email	concerning	affidavit	                  0.1	   	$225		   	$22.50		        		        	$-				 		
 5/9/17	 DME	 Review	research	of	1st	Circuit	and	                         		   	$225		        	$-				   2.7	     	$608		 		
              Saylor's…cases;	Draft	items	for	concise	
              statement	of	material	facts	and	affidavit	of	
              counsel	
5/10/17	 DME	 Review edits to printed bill detail and                     		   	$225		        	$-				   0.7	     	$158		 Includes	
              conference with paralegal…;	Edit	affidavit	in	                                                             billings	
              support	of	motion	for	summary	judgment	                                                                    work	
              on	fees	
5/16/17	 DME	 Review	email	and	draft	affidavit	from	Joyce;	               		   	$225		        	$-				   1.0	     	$225		 Includes	
              Revise	affidavit	and	forward	to	Joyce;	Email	                                                              billings	
              Wong	conerning	claim	for	attorneys'	                                                                       work	
              fees…;Telephone conference with paralegal
              concerning billing documentation	

5/23/17	 DME	 Follow-up	email	to	Joyce	concerning	                      0.1	   	$225		   	$22.50		        		        	$-				 		
              affidavit	
5/24/17	 DME	 Phone	call	with	Joyce	concerning	affidavit;	              0.5	   	$225		 	$112.50		         		        	$-				 		
              Revise	Joyce	affidavit	and	email	revised	
              version	to	Joyce…;.	Receive and review
              scanned affidavit and print	
5/27/17	 DME	 Update	Sowyrda	affidavit	and	note	to	her;	                  		   	$225		        	$-				   8.0	   	$1,800		 Includes	
              Evaluate all billing documents for missing                                                                    billings	
              data; Search DMS for missing statements;                                                                      work	
              Email paralegal...about missing                                                                               and	
              documents…; Total fees and costs related to                                                                   work	
              BSEA, USDC case, and document requests                                                                        related	
              and complaints against nurses and athletic                                                                    to	
              trainer; Create	Exhibit	A	to	affidavit	to	                                                                    nurses	
              summarize	costs	and	fees	incurred;	Update	                                                                    and	
              affidavit;	Begin	supplemental	memo	in	                                                                        athletic	
              support	of	motion...for	fees	with	record	                                                                     trainer	
              sites	                                                                                                        cases	
5/31/17	     MES	 Read	and	sign	affidavit	re	extra	fees	                0.2	   	$240		   	$48.00		        		        	$-				 		
    6/5/17	 DME	 Revising	memo	in	support	of	motion	for	           		          	$225		        	$-				   8.2	   	$1,845		 		
                 summary	judgment;	Revise	affidavit	of	
                 counsel;	Draft	motion	for	summary	
                 judgment	concerning	fees;	Finish	drafting	
                 concise	statement	of	material	facts	and	
                 supplement	record	citations	
    6/6/17	 DME	 Revise	affidavit	of	counsel;	Edit	affidavit	of	        1.3	   	$225		 	$292.50		         		        	$-				 		
                 counsel	




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3/14/18	   FSC	 Emailed	Sankey	and	Joyce	about	updated	            		      	$235		        	$-				    0.8	          	$188		 Versus	
                affidavits;	Edited	Joyce	affidavit;	Reviewed	                                                              prior,	
                memo	and	motion	of	law	for	updating;	                                                                      Joyce	&	
                Email	Ehrens	on	finalizing	motion	and	                                                                     Sankey	
                memo;	Updated	Sankey's	affidavit	                                                                          affidavits	
                                                                                                                           not	
                                                                                                                           changed		

3/15/18	   FSC	 Conference	with	Ehrens	about	the	memo	of	        0.4	      	$235		   	$94.00		         		             	$-				 		
                law	and	affidavits	

	                Subtotal	Hours	and	Fees	to	Create	
                 Affidavits	to	Concerning	Billing	Rates	
                                                                 6.5	 		             	$1,486		      39.3	        	$8,851		 		
	                TOTAL	HOURS	AND	FEES	TO	CREATE	
                 AFFIDAVITS	TO	ASSERT	REASONABLE	
                 BILLING	RATES		                                           	Total	            Total	
                 (Individual	Tasks	and	Block	Billings)	         45.8	        Hrs		 	$10,337		 $	            		                		
	




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